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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                           Newport News Division


UNITED STATES OF AMERICA

v.                                                         4:07CR123

SAM QUINTON WALLACE,

                 Defendant.


                         REPORT AND RECOMMENDATION
                           CONCERNING GUILTY PLEA

            Defendant, by consent, has appeared before the undersigned

pursuant to Rule 11, Federal Rules of Criminal Procedure, and referral

from a United States District Judge and has entered a guilty pleas to

conspiracy to obstruct, delay, and affect commerce by robbery and using

and carrying a firearm in relation to drug trafficking, in violation of

18 U.S.C. §§ 1951 and 924(c)(1)(D).       Defendant is also charged with

conspiracy to possess and distribute marijuana and cocaine base (Count

1), possession with intent to distribute marijuana (Count 4), robbery

affecting commerce (Count 5), and being a felon in possession of a

firearm (Count 7), in violation of 21 U.S.C. §§ 846 and 841(a)(1), and

18 U.S.C. §§ 1941(a) and 2, 922(g)(1).    Defendant understands that these

charges will be dismissed upon acceptance of his guilty pleas, and the

United States confirmed defendant’s understanding.

            On December 19, 2007, defendant appeared before the Court for

the purpose of entering his guilty pleas.            He was represented by

appointed counsel, Bryan Saunders, Esquire.      Defendant was appropriate

in appearance, responsive, and competently prepared for the hearing.      He

answered all questions put to him in clear and concise language.          On

those occasions when he had a question, defendant consulted with counsel
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and then promptly answered.         Defendant was courteous and appropriate in

his behavior at all times and clearly understood the seriousness of his

position.    At the close of the proceeding, defendant was remanded to the

custody of the United States Marshal, pending completion of a presentence

report.

             Defendant is twenty-nine years of age, left school in the

eighth grade, and speaks English as his native language.                 There was no

evidence that defendant was on drugs, alcohol, or medication which might

impair his judgment.        He was cooperative throughout the proceeding.

             Defendant   entered     his   guilty   pleas    pursuant    to   a   pleas

agreement.     The Court is completely satisfied, based upon defendant’s

responses, that he fully appreciates his position.                 Furthermore, he

acknowledged that the statement of facts prepared in anticipation of his

pleas accurately reflects the government’s evidence, in the event of

trial.

             After cautioning and examining defendant under oath concerning

each of the subjects mentioned in Rule 11, the Court determined that the

offenses charged are supported by independent facts, establishing each

of   the   essential   elements     of   such   offense.     Therefore,    the    Court

recommends that the guilty pleas be accepted and that defendant be

adjudged guilty and have sentence imposed accordingly.

             Failure   to    file   written     objections   to   this    report    and

recommendation within ten days from the date of its service shall bar an




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aggrieved party from attacking such report and recommendation before the

assigned United States District Judge.     28 U.S.C. § 636(b)(1)(B).




                                                      /s/
                                          James E. Bradberry
                                          United States Magistrate Judge
Norfolk, Virginia

January 2, 2008




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